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                         Exhibit B
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                                  UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                           TAMPA DIVISION



     THE UNITED STATES OF AMERICA and
     THE STATE OF FLORIDA ex rel.
     ANGELA RUCKH,

              Plaintiffs,

                            v.                                 CIVIL ACTION NO.
                                                               8:11 CV 1303 SDM-TBM
     CMC II, LLC; SEA CREST HEALTH
     CARE MANAGEMENT, LLC, d/b/a
     LAVIE MANAGEMENT SERVICES OF
     FLORIDA; SALUS REHABILITATION,
     LLC, d/b/a LAVIE REHAB; 207
     MARSHALL DRIVE OPERATIONS, LLC,
     d/b/a MARSHALL HEALTH AND
     REHABILITATION CENTER; 803 OAK
     STREET OPERATIONS, LLC, d/b/a
     GOVERNOR’S CREEK HEALTH AND
     REHABILITATION CENTER,

              Defendants.




                    EXPERT REPORT OF CONSTANTIJN PANIS, Ph.D.


                                 Advanced Analytical Consulting Group, Inc.
                                             March 28, 2016
                                    (Amended from December 11, 2015)
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     I, Constantijn (Stan) Panis, hereby submit the following report:



     Scope of Work



     1. I have been engaged by Kellogg, Huber, Hansen, Todd, Evans & Figel, PLLC
        (Counsel), counsel for the Relator Angela Ruckh, to provide an opinion on the
        estimated amount of Medicare and Medicaid overpayments to Defendants based
        on a statistical sampling of Defendants’ claims. My report of February 20, 2015
        explained how I selected a statistical sample of 300 resident-days that were
        reimbursed by Medicare and another sample of 300 resident-days that were
        reimbursed by Medicaid. Records for those 600 resident-days (or their
        replacements, in case of missing patient files) have now been reviewed and
        overpayments, if any, determined. The current report documents how I
        extrapolated overpayments in the samples to the population of resident-days at
        issue in this litigation. As requested by Counsel, I also estimated the range of
        penalties that would apply based on the estimated number of false claims.
        Appendix A lists the documents upon which I relied for this report.


     2. My firm Advanced Analytical Consulting Group, Inc. (AACG) bills its professional
        fees on an hourly basis according to the positions held within the firm. My billing
        rate on this engagement is $550 per hour. Compensation is not contingent on the
        outcome of this case.


     3. This report is based on the full extent of my knowledge as of this date. I reserve
        the right to revise my conclusions if any new facts come to my attention.



     Qualifications



     4. I am a Principal at AACG, a Massachusetts corporation that provides economic
        and statistical consulting services relating to healthcare and other issues.
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     5. My educational background is as follows: in 1984, I received a Bachelor of Arts
        degree in economics from the University of Groningen in the Netherlands. In
        1986, I received a Master’s degree in business economics from the same
        institution. In 1988, I received a degree in Dutch Civil Law, also from the
        University of Groningen. In 1992, I received a Ph.D. in economics from the
        University of Southern California in Los Angeles, California.


     6. From 1986 to 1996 and from 1997 to 2004 I was employed by The RAND
        Corporation. My final position at RAND was Senior Economist. From 2004 to 2009
        I was employed by Deloitte Financial Advisory Services LLP (Deloitte) as a
        Manager/Senior Manager of Economic and Statistical Consulting. I joined AACG in
        2009. I have taught graduate and undergraduate courses in economics,
        statistics, and econometrics (the application of statistical methods to economic
        data) at the University of California at Irvine and at the University of Southern
        California. I also co-founded EconWare, Inc., a company that developed and sold
        statistical software to disentangle causality, reverse causality, and selection
        effects in economic models. My curriculum vitae is included as Appendix B. It lists
        all cases in which I have served as an expert.


     7. In the late 1980s I became interested in healthcare issues. My Ph.D. dissertation
        developed a method to quantify the health benefits of prenatal care and hospital
        deliveries to infants. I have since published more than 20 books and articles in
        the Journal of Health Economics, Journal of Human Resources, Medical Care,
        Health Affairs, Health Policy Research, and other professional journals, including
        on statistical methods to distinguish causality from correlation.


     8. My former employer The RAND Corporation is a nonprofit institution that
        specializes in conducting research on such public policy issues as national
        security, healthcare, employment, and social security. While at The RAND
        Corporation, I directed numerous healthcare research studies, including on
        Medicare costs and utilization. These studies were almost entirely funded by the
        National Institutes of Health, the Centers for Medicare and Medicaid Services
        (CMS), the U.S. Department of Labor, and the Social Security Administration.
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        While at Deloitte and also currently at AACG, I continued conducting healthcare
        research for the U.S. Department of Labor.


     9. In the course of my research and litigation support, I routinely design, draw,
        analyze, or comment on statistical samples. I was co-Principal Investigator of the
        Third Malaysian Family Life Survey, have drawn and analyzed samples for the
        U.S. Department of Labor, and have drawn and analyzed or commented on
        samples of medical billing records in False Claims Act litigation.



     Introduction



     10. It is my understanding that the Defendants are operating skilled nursing facilities
        (SNFs) and that this litigation concerns 53 facilities in Florida. See Appendix C for
        a listing of the 53 facilities. Medicare, Medicaid, and other parties may pay for
        resident-stays; stays that were reimbursed by Medicare or Medicaid are at issue
        in this litigation. It is further my understanding that this litigation is concerned
        with stays from January 1, 2008 to January 25, 2012 (“reference period”) only.


     11. Reimbursement rates of Medicare Part A are based on the resident’s Resource
        Utilization Group (RUG), a categorization that is designed to reflect the level of
        care a resident needs. Each RUG corresponds to a daily reimbursement rate, with
        higher payments for residents with greater care needs. At certain intervals, SNFs
        are required to determine a resident’s appropriate RUG through a questionnaire
        known as a Minimum Data Set (MDS) assessment. It is my understanding that
        the Relator in this matter alleges that the Defendants “upcoded” the RUG levels
        of residents, i.e., exaggerated a resident’s care needs. As a result, Defendants
        are alleged to have been overpaid by Medicare.


     12. Reimbursement rates of Medicaid in Florida are a flat amount per day. To be
        eligible for reimbursement, SNFs must meet certain conditions. Among other
        things, they need to complete and implement care plans to address residents’
        needs. It is my understanding that the Relator in this matter alleges that care
        plans were completed late, only partially completed, or not completed at all. As a
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         result, Defendants are alleged to have collected Medicaid reimbursements for
         which they were not eligible.


     13. Reimbursement rates for Medicare Part B are based on the therapy provided to
         the patient. As with Medicaid, SNFs must complete and implement a care plan to
         address residents’ therapy needs under Medicare Part B. It is my understanding
         that Relator’s allegations regarding care plans being completed late, only partially
         completed, or not completed at all are also relevant to Medicare Part B patients.


     14. My report of February 20, 2015 explained how I selected statistical samples of
         resident-days during the reference period that were reimbursed by Medicare or
         Medicaid. I selected samples of 300 Medicare and 300 Medicaid resident-days, for
         a total of 600 resident-days. Anticipating that some records were lost, misplaced,
         rendered illegible, or destroyed, I also drew replacement samples of 100
         Medicare and 100 Medicaid resident-days. (The samples of 300+300 resident-
         days are referred to as the “Core” samples; the alternate 100+100 resident-days
         are referred to as “Replacement” samples.)


     15. My report of February 20, 2015 documented that the Defendants served
         1,504,288 Medicare and 4,025,801 Medicaid resident-days, for a total of
         5,530,089 resident-days. These resident-days form the “population” to which
         results from the samples need to be extrapolated.


     16. It is my understanding that the False Claims Act or other legal sources under
         certain circumstances allow for the imposition of penalties, and that the penalty
         may be between $5,500 and $11,000 per false claim. 1


     17. This report documents how I extrapolated overpayments in the sample of 300
         Medicare resident-days to the population of 1,504,288 Medicare resident-days.
         The extrapolation involves scaling up the overpayments in the sample by a factor
         of 1,504,288/300 = 5014.29 to estimate overpayments in the Medicare

     1
      E.g., “The False Claims Act: A Primer.” U.S. Department of Justice. Available at
     http://www.justice.gov/sites/default/files/civil/legacy/2011/04/22/C-
     FRAUDS_FCA_Primer.pdf.
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        population. It also involves calculating a margin of error around the total
        overpayment estimate. The report further documents estimates of potential
        penalties for claims submitted to Medicare.


     18. This report also documents the extrapolation of overpayments in the sample of
        300 Medicaid resident-days to the population of 4,025,801 Medicaid resident-
        days, and the estimation of potential penalties for claims submitted to Medicaid.



     Review of the Samples



     19. It is my understanding that Counsel retained SCIO Health Analytics to review the
        patient records produced by Defendants that relate to the resident-days in my
        samples with the objective to determine whether Medicare or Medicaid were
        overcharged by Defendants during the billing cycles that included the resident-
        days I selected. I further understand that Counsel retained Vianello Forensic
        Consulting LLC to process the information provided by SCIO Health Analytics and
        accounting records provided by Defendants in order to determine the Medicare or
        Medicaid overpayments, if any, for each individual resident-day in the samples
        that SCIO Health Analytics identified as indicating that Medicare or Medicaid were
        overcharged by Defendants.


     20. It is my understanding that the processes performed by these other experts
        included a review of medical records, care plans, submitted claims, and actual
        reimbursements made by Medicare and Medicaid as reflected in Defendants’
        records. It further involved the determination of reimbursements to which the
        Defendants were entitled (“but-for reimbursements”).


     21. The difference between a resident-day’s actual reimbursement and the but-for
        reimbursement is equal to the overpayment for that resident-day.


     22. Counsel provided me with spreadsheet files containing overpayments for a subset
        of resident-days in my samples. The spreadsheets also identified a subset of
        sampled resident-days for which the Defendants could not locate patient
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         information (i.e., no patient file). Counsel informed me there had been no
         determination that remaining resident-days in the samples had been reimbursed
         improperly. This information permitted me to determine overpayments, if any,
         for 300 Medicare and 300 Medicaid resident-days.


     23. The spreadsheets indicated that the Defendant did not produce any patient files
         for 25 Medicare and 17 Medicaid resident-days in my Core samples. In their
         place, I substituted the first 25 Medicare and the first 17 Medicaid resident-days
         from the Replacement samples. If any of those similarly involved a resident-day
         for which Defendants could not locate any patient file, another Replacement
         resident-day was substituted. The resulting 300 Medicare and 300 Medicaid
         resident-days form the basis for my main analysis. 2


     24. The procedure described in the previous paragraph does not take any position on
         the reason why the Defendants could not locate certain patient files; I substituted
         alternates for sampled resident-days with missing patient files. For Medicaid, if a
         patient file was missing, a potential interpretation is that there was no evidence
         of a care plan for that resident-day. At the request of Counsel, I have also
         prepared a supplemental analysis in which Medicaid resident-days with missing
         patient files were considered cases for which no reimbursement was due. In
         other words, no replacements were substituted for those Medicaid resident-days.



     Overpayments in the Samples



     25. Table 1 summarizes the overpayments in the samples of resident days. In the
         Medicare sample, the review identified an overpayment for 161 out of 300
         resident-days (54%). There was no determination of improper reimbursement in
         the other 139 resident-days (46%), and the overpayment for those days is
         therefore zero. The overpayment by Medicare for the entire sample was $31,659.
         The average overpayment was $31,659 / 300 = $105.53 per resident-day. (This



     2
      It is my understanding that all Replacement resident-days were reviewed, but my
     analysis used only as many as were required to replace missing Core resident-days.
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         average overpayment was calculated over all resident-days in the sample, not
         just over resident-days with a non-zero overpayment.)


                   Table 1. Summary of Overpayments in the Samples
                                                             Medicare    Medicaid
              Number of resident-days in sample                    300         300
              Number of days with overpayment                      161          62
              Overpayment in entire sample                    $31,659     $10,667
              Average overpayment per resident-day            $105.53       $35.56
              Standard deviation of daily overpayments         $136.05      $70.59


     26. Similarly, the review found improper reimbursements for 62 out of 300 (21%)
         resident-days reimbursed by Medicaid and there was no finding of improper
         reimbursement for the other 238 resident-days (79%). Overpayments in the
         entire Medicaid sample were $10,667, or $35.56 per resident-day.


     27. The bottom row of Table 1 shows standard deviations of daily overpayments. As
         explained in my report of February 20, 2015, a standard deviation measures the
         variability of overpayments in the sample. It is an important metric to gauge
         uncertainty and to calculate the margin of error.


     28. The standard deviation of daily overpayments was $136.05 in the Medicare
         sample and $70.59 in the Medicaid sample.



     Extrapolation of Overpayments in the Samples to the Populations



     29. As noted above, extrapolation involves scaling up sample results to the
         population and calculating the margin of error.


     30. For Medicare, the average daily overpayment of $105.53 per resident-day implies
         total overpayments in the population of $105.53 x 1,504,288 = $158,748,064. 3

     3
      Dollar amounts in this report are rounded, but calculations were carried out based
     on more precise numbers, so that rounding errors may arise. For example, average
     daily Medicare overpayments are reported as $105.53, but the calculations use a
     more precise number (namely $31,659.11 / 300 = $105.53036667).
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          Similarly, for Medicaid the average daily overpayment of $35.56 per resident-day
          implies total overpayments in the population of $35.56 x 4,025,801 =
          $143,140,709. These amounts represent my “point estimates,” i.e., the most
          likely single estimates of overpayments by Medicare and Medicaid, respectively.
          (I also refer to point estimates as “best estimates.”) The point estimate of
          combined overpayments is $301,888,774. See the top panel of Table 2.


               Table 2. Estimates of Total Overpayments in the Populations
                                                   Medicare     Medicaid      Total
      Number of resident-days in population         1,504,288    4,025,801    5,530,089
      Number of resident-days in sample                   300          300          600
      Average overpayment per day                     $105.53       $35.56
      Total overpayment in population            $158,748,064 $143,140,709 $301,888,774

      At a confidence level of 95%:
          Margin of error of total overpayment    $23,253,685 $32,286,099 $39,707,829
             As a percentage:                          14.6%        22.6%        13.2%
          Lower bound overpayment                $135,494,379 $110,854,610 $262,180,945
          Upper bound overpayment                $182,001,749 $175,426,808 $341,596,602

      At a confidence level of 90%:
          Margin of error of total overpayment    $19,496,522 $27,069,545 $33,308,015
             As a percentage:                          12.3%        18.9%        11.0%
          Lower bound overpayment                $139,251,542 $116,071,165 $268,580,758
          Upper bound overpayment                $178,244,587 $170,210,254 $335,196,789


      31. As explained in my report of February 25, 2015, sampling necessarily involves a
          certain level of uncertainty. To determine overpayments precisely, one would
          need to review all resident days. Instead, only a sample was reviewed. A
          different sample would most likely yield approximately the same estimates, but
          probably not the exact same estimates. Statistical science offers the tools to
          quantify the inherent uncertainty, often expressed in terms of a margin of error
          and an associated confidence level. 4 The smaller the margin of error, the more
          precise an estimate is.




      4
        E.g., page 12 of Sampling Techniques, William G. Cochran, 3rd edition, 1977. Since
      the population is very large, I ignore the so-called finite-population correction. The
      finite population correction would very slightly reduce the margin of error.
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      32. Table 2 shows margins of error at two levels of confidence: 95% and 90%.
          Consider the 95% margin of error for Medicare overpayments. The point estimate
          of Medicare overpayments is $158,748,064 and the 95% margin of error is
          $23,253,685. This means that with 95% probability, the true overpayments were
          between $158,748,064 plus or minus $23,253,685, i.e., between $135,494,379
          and $182,001,749. These are the estimated lower and upper bounds of Medicare
          overpayments; also see the table. Of course there is a chance that the true
          overpayment is outside those bounds, namely a 2.5% chance that it is less than
          $135,494,379 and a 2.5% chance that it is more than $182,001,749. Put
          differently, there is a 97.5% chance that the true overpayment exceeds
          $135,494,379.


      33. The table also shows 90% margins of error and lower and upper bounds. Based
          on the sample, my best estimate of Medicare overpayments is $158,748,064,
          and there is a 95% chance that the true overpayment exceeds $139,251,542.


      34. Similarly, Table 2 shows margins of error and lower and upper bounds for
          Medicaid and for both payors combined.


      35. Based on the sample, my best estimate of Medicaid overpayments is
          $143,140,709, and there is a 95% chance that the true overpayment exceeds
          $116,071,165.


      36. Based on the sample, my best estimate of combined Medicare and Medicaid
          overpayments is $301,888,774, and there is a 95% chance that the true
          overpayment exceeds $268,580,758.


      37. Paragraph 24 discussed a supplemental analysis of Medicaid overpayments in
          which resident-days for which the Defendants could not locate patient files are
          considered ineligible for reimbursement. Under that theory, the number of
          overpayments in the Medicaid sample 73 out of 300 (24%), 5 the average


      5
       It is my understanding that a reimbursement issue was identified for a 74th case,
      but the overpayment by Medicaid was zero.
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          overpayment was $41.53, and the standard deviation $74.38. My best estimate
          of total Medicaid overpayments is $167,191,784, and there is a 95% chance that
          the true overpayment exceeds $138,668,829 (not shown in the tables). My best
          estimate of combined Medicare and Medicaid overpayments under that theory is
          $325,939,848, and there is a 95% chance that the true overpayment exceeds
          $291,443,876.



      Estimation of Potential Penalties



      38. As noted above, it is my understanding a penalty of between $5,500 and $11,000
          per false claim may apply. Suppose a patient was resident for 40 days, and the
          facility submitted two claims related to this resident. If Medicare overpaid for
          each of the 40 days, the penalty would be between 2 x $5,500 = $11,000 and
          2 x $11,000 = $22,000. In other words, while extrapolating overpayments
          involves scaling up a daily overpayment by the number of resident-days, for
          purposes of extrapolating penalties, the number of claims is the relevant scaling
          factor.


      39. I am adopting a conservative approach to estimating potential penalties through
          two assumptions. First, I assume that the penalty is at most $5,500-$11,000 per
          resident, even if multiple false claims may have been submitted for that resident.
          Second, I assume that the fraction of residents with false claims is the same as
          the fraction of sampled resident-days with overpayments. (In many cases, a
          subset of days for a particular resident were overpaid and the remainder did not
          have evidence of an overpayment, i.e., the fraction of residents with any
          overpaid days is greater than the fraction of overpaid days.)


      40. The claims database that was provided by the Defendants included 31,398
          Medicare residents and 7,918 Medicaid residents. 6 The Medicare and Medicaid
          samples include 299 and 293 unique residents, respectively. One or more


      6
        Some residents triggered claims to both Medicare and Medicaid, such as when
      Medicare benefits were exhausted. The counts in the text refer to the payor at the
      start of a resident’s stay, i.e., they represent unique individuals.
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          overpayments were identified for 161 (54%) Medicare and 62 (21%) Medicaid
          resident-days. At penalties of $5,500, the average penalty per Medicare resident
          is estimated to be 54% x $5,500 = $2,962 and 21% x $5,500 = $1,164 per
          Medicaid resident. Multiplying these figures by the number of residents in the
          population, I conservatively estimate potential penalties of $92,986,385 for
          Medicare and $9,215,147 for Medicaid. See the top panel of Table 3. At penalties
          of $11,000, the conservative penalty estimates are twice as high: $185,972,769
          for Medicare and $18,430,294 for Medicaid (not shown in the table). 7


             Table 3. Estimates of Total Potential Penalties in the Populations
                                                   Medicare      Medicaid      Total
      Number of residents in population                31,398         7,918       39,316
      Number of residents in sample                       299           293          592
      Number of residents with overpayment(s)             161            62          223
      Average penalty per resident (at $5,500)         $2,962        $1,164
      Total penalty in population (at $5,500)     $92,986,385    $9,215,147 $102,201,531

      At a confidence level of 95%:
          Margin of error of total penalty         $9,814,164 $2,048,674 $10,005,483
             As a percentage:                          10.6%       22.2%         9.8%
          Lower bound overpayment                 $83,172,220 $7,166,473 $92,196,048
          Upper bound overpayment                $102,800,549 $11,263,821 $112,207,015

      At a confidence level of 90%:
          Margin of error of total penalty         $8,228,436 $1,717,625    $8,392,820
             As a percentage:                           8.8%       18.6%         8.2%
          Lower bound overpayment                 $84,757,949 $7,497,522 $93,808,712
          Upper bound overpayment                $101,214,821 $10,932,771 $110,594,351


      41. Similar to the procedure for overpayments in Table 2, Table 3 also shows the
          margins of error and lower and upper bounds of total potential penalties. Based
          on a penalty level of $5,500, my conservative point estimate of combined
          Medicare and Medicaid potential penalties is $102,201,531, and there is a 95%
          chance that the true potential penalty exceeds $93,808,712. At penalties of
          $11,000, the conservative combined penalty estimates are twice as high, with a




      7
       For parsimony, I do not present the counterpart of Table 3 at a penalty level of
      $11,000. All dollar amounts would be twice as high as those in Table 3.
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         best estimate of $204,403,063 and a 95% chance that the true potential penalty
         exceeds $187,617,424.



      Summary



      42. Based on overpayments identified in samples of 300 Medicare and 300 Medicaid
         resident-days, I estimate total overpayments to the Defendants during the
         reference period to be about $302 million. With 95% probability, total
         overpayments exceeded $269 million. If Medicaid cases with missing patient files
         are considered ineligible for reimbursement, my best estimate of total
         overpayments is about $326 million with a lower bound of $291 million. Also, at a
         penalty level of $5,500, I estimate total potential penalties to be about $102
         million. With 95% probability, total potential penalties exceeded $94 million. At a
         penalty level of $11,000, total potential penalties would be twice as high.




            Constantijn Panis, Ph.D.
            March 28, 2016
